                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA


 ALESSANDRO MASI

                                 Plaintiff,                      Docket No. 5:19-cv-438-LWF

         - against -

MYTHICAL ENTERTAINMENT

                                 Defendant.



                 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

       I, REBECCA LIEBOWITZ, hereby swear under the penalty of perjury that the following

is true and correct to the best of my personal knowledge:

       1.      I submit this declaration in response to the Order to Show Cause, dated January

14, 2020, entered by the Honorable Louise W. Flanagan (U.S.D.J.).

       2.      I am an attorney licensed to practice in the State of New York and an associate at

Liebowitz Law Firm, PLLC (the “Firm”).

       3.      The Court directed Plaintiff to enter a notice of appearance of substitute counsel

in this matter by January 21, 2020. Unfortunately, due to administrative oversight and/or mis-

calendaring on the part of Richard Liebowitz (who has been disqualified), I only learned of this

case today. Upon learning of the action, I promptly filed my notice of special appearance.

       4.      As there is a fully-briefed motion to dismiss pending [Dkt. #s 19, 24, 25], the

action should not be dismissed for failure to prosecute as Plaintiff has recently submitted an

opposition brief, which demonstrates his intent to pursue this litigation.



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       5.      Further, as a result of the pending motion to dismiss, Defendant has not suffered

any prejudice as a result of my delayed filing of a special notice of appearance, which is less than

two weeks past deadline.

       6.      Accordingly, for good cause shown, we respectfully request that the Court decline

to dismiss the action so as to permit the case to be decided on the merits.


Dated: February 3, 2020
Valley Stream, New York

                                                      Respectfully Submitted:

                                                      /rebeccaliebowitz/
                                                      By: Rebecca Liebowitz
                                                      LIEBOWITZ LAW FIRM, PLLC
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                                                      rebecca@liebowitzlawfirm.com

                                                      Counsel for Plaintiff Masi




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                                      CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that a true and correct copy of the foregoing RESPONSE TO THE
COURT’S ORDER TO SHOW CAUSE by Rebecca Liebowitz has been served via CM/ECF on February 3,
2020 to all counsel of record


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